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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE


In re:                                              Chapter 11

WHITE EAGLE ASSET PORTFOLIO, LP,                    Case No. 18-12808 (KG)
WHITE EAGLE GENERAL PARTNER, LLC,
and LAMINGTON ROAD DESIGNATED                       (Jointly Administered)
ACTIVITY COMPANY (f/k/a LAMINGTON
ROAD LIMITED),

                                     Debtors.


EMERGENT CAPITAL, INC., WHITE
EAGLE ASSET PORTFOLIO, LP, WHITE
EAGLE GENERAL PARTNER, LLC, and
LAMINGTON ROAD DESIGNATED
ACTIVITY COMPANY (f/k/a LAMINGTON
ROAD LIMITED),                                      Adv. Proc. No. 19-_______

                   Plaintiffs,

                                     v.

LNV CORPORATION, SILVER POINT
CAPITAL L.P., and GWG HOLDINGS, INC.,

                   Defendants.


                                           COMPLAINT

         Plaintiff Emergent Capital, Inc. (“Emergent”) and Debtor-Plaintiffs White Eagle Asset

Portfolio, LP (“White Eagle”), Lamington Road Designated Activity Company (f/k/a Lamington

Road Limited) (“Lamington”) and White Eagle General Partner, LLC (“White Eagle GP”) (White

Eagle, Lamington and White Eagle GP, collectively, the “Debtor-Plaintiffs”; and the Debtor-

Plaintiffs and Emergent, collectively, “plaintiffs”), as and for their complaint against defendants

LNV Corporation (“LNV”), Silver Point Capital L.P. (“Silver Point”) and GWG Holdings, Inc.



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(“GWG”) (collectively, “defendants”), hereby allege, upon knowledge as to themselves and upon

information and belief as to all other matters, as follows:

                                        INTRODUCTION

       1.      This action arises out of defendants’ scheme to coerce plaintiffs into selling their

valuable portfolio of life insurance policies to defendants for well below its true value.

       2.      Debtor-Plaintiff White Eagle owns a portfolio of nearly 600 life insurance policies,

with a total face value of nearly $3 billion and a present value of more than $500 million. White

Eagle is a joint venture between plaintiff Emergent and defendant LNV, a subsidiary of Beal Bank

(“Beal”). Pursuant to a loan agreement, LNV agreed to lend $370 million to White Eagle, and in

connection therewith received a 45% equity stake in White Eagle. That equity stake, and LNV’s

significant control over White Eagle under the loan agreement, creates a joint venture, and gives

rise to fiduciary duties to White Eagle and Emergent, on the part of LNV. In direct violation of

those fiduciary duties, LNV induced White Eagle to enter into an onerous and unconscionable

amended loan agreement in December 2016 and January 2017, and has been engaged in a

concerted campaign to “squeeze” White Eagle and Emergent by improperly restricting their cash

flow, in the hopes that White Eagle and Emergent will have no choice but to sell the valuable

policy portfolio to LNV or one of its proxies at below its true value.

       3.      Among other things, LNV has improperly and in bad faith exercised its “discretion”

under the loan agreement’s one-sided provisions in ways that have caused plaintiffs significant

harm. For example, the loan agreement provides that White Eagle (and, by extension, Emergent)

may only participate in the cash flows generated by the policy portfolio when the loan-to-value

ratio (the “LTV”) is 65% or less. But the loan agreement also gives LNV “reasonable” discretion

to calculate the LTV. LNV has used that discretion unreasonably to undervalue the policy portfolio

in ways that improperly reduce the LTV and block White Eagle from receiving any cash generated


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by its own assets – while LNV continues to hoard nearly all of the cash for itself. In addition,

LNV has improperly excluded from the LTV calculation the value of policies that have matured,

improperly reducing the LTV; imposed usurious fees on White Eagle for so-called portfolio

services that are unnecessary and could be obtained cheaper elsewhere; and refused to release to

Emergent millions of dollars that it promised to release nearly two years ago.

       4.      As it intended all along, LNV’s improper conduct has vastly reduced the amount of

cash that White Eagle and Emergent receive from the policy portfolio, and endangered the ongoing

financial health of both companies. Indeed, in the nearly two years since the loan agreement was

amended, White Eagle has only been permitted by LNV to participate in the payment waterfall

twice, for less than $1 million, while LNV has kept for itself the lion’s share of the more than

$111 million in cash that White Eagle’s primary assets have generated over the same period.

       5.      LNV’s misdeeds have intentionally placed plaintiffs in an untenable and

unreasonable position: while both White Eagle and Emergent are indisputably solvent – indeed,

even at LNV’s improperly low valuations, their assets exceed their liabilities by between

$150 million and $200 million – both plaintiffs face a threat of severe ongoing cash constraints in

the near future, as White Eagle may not have sufficient cash flow to pay the premiums and other

costs associated with its policy portfolio, and Emergent may not have sufficient cash flow to pay

the debt and interest service on its own debt. Remarkably, LNV has now seized on this fact to

justify continuing its course of improper conduct: according to LNV’s counsel, White Eagle is no

longer permitted to participate in the payment waterfall at all because White Eagle’s parent

company, Emergent, has “fail[ed] to take steps to improve its solvency in a manner acceptable to

[LNV] (as determined in [its] sole and absolute discretion).”         In other words, LNV has

unreasonably and improperly restricted plaintiffs’ access to the cash generated by plaintiffs’ own




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assets, and LNV now points to that same lack of cash as a justification for its unreasonable and

improper actions.

       6.      After restricting plaintiff’s access to cash to which they are rightfully entitled, LNV

made repeated overtures to plaintiffs, suggesting that they sell their policy portfolio to one of “a

number of buyers,” i.e., entities with whom LNV has conspired. In the meantime, defendants

Silver Point and GWG – a hedge fund and a competitor in the life settlement industry, respectively

– have “independently” approached plaintiffs and offered to purchase White Eagle’s policy

portfolio. Plaintiffs have learned that Silver Point and GWG are both backed by, and are working

with, LNV – indeed, GWG is acting through an individual who, until recently, was the key LNV

executive working on the White Eagle loan. In other words, Silver Point and GWG are direct

participants in LNV’s conspiracy to expropriate plaintiffs’ valuable assets. In doing so, all three

defendants have acted improperly.

       7.      The end game of LNV’s scheme is nearing completion. LNV’s improper conduct

has caused the Debtor-Plaintiffs – consisting of White Eagle and its direct corporate parents – to

seek protection under the Bankruptcy Code.

       8.      Plaintiffs bring this action to put a stop to defendants’ improper and unreasonable

conduct, and to seek damages and other relief to undo the consequences of defendants’ illegal

actions.

                                            PARTIES

       9.      Debtor-Plaintiff White Eagle is a Delaware limited partnership with its principal

place of business in Bermuda. White Eagle’s general partner is White Eagle GP, a Delaware

limited liability company. All of White Eagle’s limited partnership interests are owned by

Lamington, an Irish designated activity company. Lamington also owns 100% of White Eagle




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GP. Lamington is 100% owned by Markley Asset Portfolio, LLC (“Markley”); Markley is owned

100% by OLIPP IV, LLC (“OLIPP”); and OLIPP is 100% owned by plaintiff Emergent.

       10.     Debtor-Plaintiff White Eagle GP is a Delaware limited liability company. As noted

above, White Eagle GP is 100% owned by Lamington; Lamington is 100% owned by Markley;

Markley is owned 100% by OLIPP; and OLIPP is 100% owned by Emergent.

       11.     Debtor-Plaintiff Lamington is an Irish designated activity company. As noted

above, Lamington is 100% owned by Markley; Markley is owned 100% by OLIPP; and OLIPP is

100% owned by Emergent.

       12.     Plaintiff Emergent is a Florida corporation headquartered in Florida, and a global

leader in the life settlements industry. Emergent is the sole indirect owner of Lamington, White

Eagle’s limited partner and the owner of White Eagle GP.

       13.     Defendant LNV is a Nevada corporation with its principal place of business in

Texas. LNV offers commercial lending services in the United States and is a wholly-owned

subsidiary of Beal Bank USA (“Beal”).

       14.     Defendant Silver Point Capital is a Delaware limited partnership with its principal

place of business in Connecticut. Upon information and belief, Silver Point’s general partner is

Silver Point Capital Management, LLC, a Delaware limited liability company (“Silver Point GP”);

upon information and belief, Silver Point’s limited partners and Silver Point GP’s members are

residents of Connecticut, New York and New Jersey. Silver Point is a hedge fund that focuses on

credit and special situations investments.

       15.     Defendant GWG is a Delaware corporation with its principal place of business in

Minnesota. GWG, through its subsidiaries, is also engaged in the life settlements industry.




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                                 JURISDICTION AND VENUE

        16.    Jurisdiction of this Court is founded upon sections 157 and 1334 of title 28 of the

United States Code, in that this constitutes a civil proceeding arising under the Bankruptcy Code,

or arising in or related to the above-captioned jointly administered chapter 11 cases under the

Bankruptcy Code, which are pending in the United States Bankruptcy Court for the District of

Delaware.

        17.    This is a core proceeding under section 157(b)(2) (A), (B), (K) and (O) of title 28,

United States Code.

        18.    Venue in this Court is appropriate under section 1409(a) of title 28, United States

Code.

                                  FACTUAL ALLEGATIONS

I.      THE LIFE SETTLEMENT INDUSTRY

        19.    A life settlement is a transaction in which an individual sells an insurance policy to

a third-party investor for an amount less than the policy’s face value, but greater than its net cash

surrender value. The investor becomes responsible for paying future premiums on the policy and,

upon the death of the individual, receives the policy’s death benefits.

        20.    Life settlements allow senior insureds who can no longer afford their premiums, or

who desire additional liquidity, to shed their policies for an immediate infusion of cash at a

premium over the cash surrender value offered by the insurance companies. The investor makes

projections concerning the individual’s probability of survival and life span, pays out the required

premiums on the policy, and projects discounted cash flows for each policy. The investor assumes

the risk that the death benefit will be less than the sum of the purchase price, the aggregate future

premiums and any additional fees. The insured receives the benefit of an immediate cash payment

in excess of the cash surrender value offered to the insured.


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        21.     Life settlement assets are subject to uneven cash flows that can be difficult to

predict, and that can lead to liquidity issues if the benefit payouts received are insufficient to cover

the cash outlays from operating expenses, the required premium payments, and the interest

payments on the debt needed to finance the business. However, the investment carries the benefit

of cash flows that are uncorrelated to market returns.

II.     EMERGENT, WHITE EAGLE AND THE LIFE SETTLEMENT PORTFOLIO

        22.     White Eagle is an indirect subsidiary of plaintiff Emergent. White Eagle owns a

portfolio of 594 life insurance policies – also known as life settlements – with an aggregate death

benefit of approximately $2.8 billion and a fair value (as calculated by LNV) of approximately

$552 million as of October 31, 2018. Each of these policies is pledged under a $370 million

revolving credit facility with LNV (the “White Eagle Facility”).

        23.     White Eagle’s indirect parent, Emergent, was founded in 2006 as Imperial

Holdings, LLC (which later became Imperial Holdings, Inc., and, in 2015, changed its name to

Emergent) and has been publicly traded since 2011. Emergent’s primary business is to act as a

holding company for its indirect interests in White Eagle and White Eagle’s portfolio of life

insurance policies.

III.    LNV, BEAL AND THE WHITE EAGLE FACILITY

        24.     In 2012, Emergent (then still known as Imperial) approached CSG Investments,

Inc., an affiliate of Beal, seeking a credit facility to assist the company’s liquidity.

        25.     Effective April 29, 2013, White Eagle’s predecessor entity, White Eagle Asset

Portfolio LLC, entered into the White Eagle Facility, a 15-year revolving credit agreement

memorialized in a Loan and Security Agreement (the “Initial Loan Agreement”) with LNV – a

subsidiary of Beal – as lender, Imperial Finance & Trading LLC (“Imperial Finance”) as servicer




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and portfolio manager, and CLMG Corp. (“CLMG”) as administrative agent. CLMG is a wholly

owned subsidiary of Property Acceptance Corp., which is in turn a wholly owned subsidiary of

Beal Bank SSB. Both Beal Bank SSB and LNV’s parent, Beal Bank USA, are wholly-owned

subsidiaries of Beal Financial Corporation (Beal Bank SSB, Beal Bank USA and Beal Financial

Corporation are referred to herein as “Beal”).

       26.     The Initial Loan Agreement provided for an asset-based revolving credit facility

backed by White Eagle’s portfolio of life insurance policies with an initial aggregate lender

commitment of up to $300 million, subject to borrowing base availability. At the time of closing,

White Eagle owned a portfolio of 459 life insurance policies with an aggregate death benefit of

approximately $2.28 billion, which were pledged as collateral under the Initial Loan Agreement.

Emergent was to receive an initial advance of $83 million, a priority payment of $76.1 million

after paying down principal and interest, and a 50/50 split on net cash flows from death benefits

between White Eagle and LNV after the priority payment was made. LNV’s 50% equity interest

in White Eagle was subsequently reduced to 45%, as described below.

       27.     On May 16, 2014, White Eagle Asset Portfolio LLC converted from a Delaware

limited liability company into what is now White Eagle – a Delaware limited partnership – and its

ownership interests were transferred to Lamington, an indirect, wholly-owned Irish subsidiary of

Emergent. In connection with the conversion, the White Eagle Facility was amended and restated

in an Amended and Restated Loan and Security Agreement (the “Amended Loan Agreement”)

among White Eagle, as borrower; Imperial Finance as the initial servicer, initial portfolio manager

and guarantor; Lamington Road Bermuda Ltd. (“Lamington Road Bermuda”) as portfolio

manager; LNV as lender and CLMG as administrative agent. The financial terms remained the

same as under the Initial Loan Agreement.




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       28.     The parties amended the Amended Loan Agreement on November 9, 2015 in a First

Amendment to Amended and Restated Loan and Security Agreement (the “First Amendment”).

Pursuant to the First Amendment, the maximum facility was reduced from $300 million to

$250 million and the interest rate under the facility was increased by 50 basis points. At the same

time, the White Eagle Facility was restructured to provide earlier participation by White Eagle in

the portfolio cash flows if certain loan to value (“LTV”) ratios were achieved. Effective with the

First Amendment, ongoing advances could no longer be used to pay interest on the White Eagle

Facility to LNV; instead, interest payments could be made only from proceeds received on White

Eagle’s policy portfolio (or, if they were insufficient, from White Eagle’s available cash). Pursuant

to the First Amendment, White Eagle would receive a portion of the proceeds from its policies

(after payment of fees and interest) of between 17.5% and 32.5% so long as the then-current LTV

was below 50% (a figure that was raised to 65% in a subsequent amendment, as described below).

IV.    THE 2016/2017 AMENDED LOAN AGREEMENT

       A.      LNV Induces White Eagle to Enter into an Unconscionable Agreement

       29.     Emergent faced liquidity problems following entry into the White Eagle Facility

due to a mismatch between cash inflows (death benefit payouts and fair value adjustment) and

outflows (operating expenses and interest and premium payments), primarily due to legal and

professional fees that exceeded $100 million between 2011 and 2015.

       30.     In the fall of 2016, White Eagle approached LNV about restructuring the White

Eagle Facility. However, LNV saw plaintiffs’ liquidity problems as an opportunity to take over

plaintiffs’ valuable life settlement portfolio for itself. Accordingly, LNV forced White Eagle to

accept terms that so heavily favor LNV that LNV clearly and indisputably had – and still has – as

its ultimate goal the acquisition of 100% of White Eagle’s portfolio.




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       31.     On December 29, 2016, under pressure from LNV, White Eagle and LNV entered

into a Second Amendment to the Amended and Restated Loan Agreement (the “Second

Amendment”). On January 31, 2017, in accordance with the Second Amendment, White Eagle

and LNV executed the Second Amended and Restated Loan and Security Agreement, dated

January 31, 2017 (as subsequently amended and/or restated, the “Second Amended Loan

Agreement,” or the “Loan Agreement”), which consolidated into a single document the Second

Amendment and all prior amendments. A copy of the Second Amended Loan Agreement – which

governs the present relationship among the parties – is attached hereto as Exhibit A.

       32.     Pursuant to the Second Amended Loan Agreement, 190 life settlement policies

purchased from other wholly owned subsidiaries of Emergent were pledged as additional collateral

under the White Eagle Facility for an additional policy advance of approximately $71.1 million

(which in turn was used to pay down the debt (owed to LNV) of the subsidiaries that contributed

the collateral). The maximum facility amount was increased to $370 million and the term of the

facility was extended to December 31, 2031.

       B.      The Loan Agreement’s Onerous Terms

       33.     The Second Amended Loan Agreement provides LNV significant discretion on a

number of material issues – discretion that LNV has abused throughout the course of its

relationship with plaintiffs. For example, pursuant to Section 5.2 of the Second Amended Loan

Agreement, available amounts collected from matured life insurance policies are distributed

through a waterfall. (Ex. A, § 5.2.) Fees and costs, including fees to the Custodian, the Securities

Intermediary and the Administrative Agent are paid first. (Id.) Then LNV as Lender is entitled to

receive the “Required Amortization,” which is equal to the cash available at that point in the

waterfall multiplied by a percentage (the “Cash Flow Sweep Percentage”) that varies based on the




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LTV of White Eagle’s policy portfolio. Specifically, if the LTV is greater than 65% – meaning

that the outstanding amount of the loan equals more than 65% of the value of the policies as

determined by LNV – 100% of the cash available for distribution at that point in the waterfall must

be paid entirely to LNV as amortization of the principal due under the facility.

       34.     The LTV calculation purportedly provides substantial discretion to LNV. The LTV

is defined as the outstanding amount of the facility divided by “the Lender Valuation of the Pledged

Policies (other than any Excluded Policies), as determined by the Required Lenders in their sole

discretion.” (Ex. A, Annex I at I-19 (emphasis added).) The term “Lender Valuation” is defined

to mean “on any date of determination, the value of the Pledged Policies (other than the Excluded

Policies) as determined by the Required Lenders in their reasonable discretion.” (Ex. A at I-17

(emphasis added).)     The definition goes on to provide non-exclusive examples of certain

methodologies and assumptions that might be reasonable.

       35.     In addition, White Eagle is only entitled to receive proceeds under the waterfall if

“EMG” (i.e., Emergent – White Eagle’s indirect parent who is not even a party to the Loan

Agreement) maintains a Cash Interest Coverage Ratio – i.e., the ratio of Emergent’s cash to the

interest due on Emergent’s funded debt over the prior year – of at least 2.0:1 at any time during

the immediately preceding calendar quarter and does not fail to take steps “to improve its solvency

in a manner acceptable to the Required Lenders (as determined in their sole and absolute

discretion).” (Ex. A, Annex I at I-5-6.) And beginning in July 2019, the failure of EMG to

maintain a Cash Interest Coverage Ratio of at least 1.75:1 will give rise to an Event of Default.

(Ex. A, § 10.1(x).)




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V.     EMERGENT AND LNV ARE JOINT VENTURE PARTNERS IN WHITE EAGLE

       36.     As a result of the Second Amended Loan Agreement, LNV exercises a controlling

influence over the management and policies of White Eagle. In addition, LNV shares significantly

in the profits and losses of the company. LNV’s equity interest in, and managing control over,

White Eagle render LNV a joint venture partner with White Eagle’s other equityholders,

Lamington and White Eagle GP.

       37.     First, the Second Amended Loan Agreement provides LNV with a “Participation

Interest” equal to 45% (originally 50%) of the revenue generated by White Eagle’s loan settlement

portfolio (after certain fees, interest and required amortization has been paid). (Ex. A, Annex I,

at I-22.) Accordingly, LNV has a 45% equity stake in White Eagle’s sole asset, its life settlements

portfolio (i.e., LNV’s “45% Equity Position”). Indeed, LNV has asserted that this 45% stake

survives repayment and termination of LNV’s loan commitment, and even survives a default by

LNV to make advances in the first place. (Ex. A, § 10.3.) In other words, White Eagle must pay

LNV a 45% share of the profits even if LNV no longer has a single loan outstanding – a residual

claim on future profits that is the very definition of an equity interest. LNV’s 45% stake makes it

the second largest equity holder in White Eagle and effectively prevents White Eagle from

accessing alternative sources of capital.

       38.     LNV received its 45% Equity Position as part of the consideration for its loan to

White Eagle under the White Eagle Facility (the “Loan”). In other words, LNV provided the Loan

to White Eagle, and in exchange received a promissory note for the face value of the Loan, as well

as the 45% Equity Position. LNV’s 45% Equity Position essentially served as an equity “kicker”

(akin to shares of stock or warrants) for LNV, on top of White Eagle’s obligation to pay the face

amount of the Loan. As a result, the 45% Equity Position constitutes an “Original Issue Discount,”

or “OID.” An OID is a discount from the face value of debt at the time the debt is issued that


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reflects the fact that the lender paid less than the face amount of the debt in exchange for the debt.

Essentially, when LNV received the 45% Equity Position in addition to the note, LNV paid less

than the face amount of the note in exchange for the note – LNV received a note for a face value

of more than it provided to White Eagle, when LNV’s equity kicker is taken into account.

       39.     Second, LNV exerts extensive day to day control over White Eagle’s management

and policies. For example, LNV must approve White Eagle’s acquisition of any additional

policies. (Ex. A, § 9.2(a)(l).) White Eagle also cannot sell, transfer, or convey any assets without

LNV’s permission (Ex. A, § 9.2(a)(j)), and the sale and/or abandonment of a policy is subject to

LNV’s right of first offer (Ex. A, § 2.7). Furthermore, White Eagle cannot improve the overall

portfolio by trading riskier policies that would subject it to higher litigation risk without LNV’s

approval, which to date has not been forthcoming.

       40.     Life settlements often result in litigation with insurance companies, which

frequently contest their obligation to provide coverage under the applicable policies, even after

having received years of premiums thereunder. Under the Loan Agreement, White Eagle is

required to consult with LNV’s captive Administrative Agent in connection with the defense of

any lawsuit, and LNV must approve any settlement agreement. (Ex. A, § 9.1(g) and (u).) In other

words, LNV essentially controls all of White Eagle’s litigation strategy – notwithstanding the fact

that LNV does not bear any of the litigation risk or cost. Specifically, the priority of payments

waterfall is calibrated by LNV so that LNV is still made whole on its 45% equity participation in

the portfolio even if a policy payout is reduced below face value as a result of litigation between

White Eagle and an insurance carrier. (Ex. A, § 5.2.) At the same time, White Eagle also is

responsible for paying all litigation expenses incurred in connection with defending its policies –

meaning that White Eagle has essentially guaranteed to LNV full payment on every policy in its




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portfolio, and bears all of the risk and costs associated with litigation over those policies. (Ex. A,

§ 9.1.)

          41.   LNV also controls the selection of the key agents and intermediaries who service

and manage White Eagle’s portfolio of life settlements, including the Portfolio Servicer, Securities

Intermediary and Portfolio Manager. (Ex. A.) And under Section 9.1(d)(vi) of the Second

Amended Loan Agreement, White Eagle also is required to submit an annual budget to LNV

detailing every material expenditure by White Eagle, including premium payments, servicer fees,

securities intermediary fees, audit fees and administrative agent fees. LNV has “sole discretion”

under the Loan Agreement to approve the amounts set forth in the budget and any increases or

decreases. (Ex. A, § 9.1(d)(vi).)

VI.       DEFENDANTS CONSPIRE TO APPROPRIATE WHITE EAGLE’S VALUABLE
          LIFE SETTLEMENT PORTFOLIO

          A.    LNV Abuses the Discretion It Was Afforded Under the
                Loan Agreement to Put Improper Pressure on White Eagle

          42.   In furtherance of its scheme to expropriate White Eagle’s business, LNV not only

inserted onerous terms in the Second Amended Loan Agreement that favored it exclusively, but

then has proceeded to apply those provisions in bad faith in an overt and improper attempt to force

White Eagle to declare bankruptcy and sell its valuable loan settlement portfolio to LNV for a

fraction of its true value.

          43.   LNV has manipulated and abused the discretion it provided itself under the onerous

and unconscionable provisions of the Second Amended Loan Agreement in order to deny White

Eagle the cash flow that it needs to maintain its policy portfolio and provide cash for Emergent to

pay its own bondholders. The goal of LNV’s manipulation and abuse indisputably is to choke off

White Eagle’s access to cash and force White Eagle into a restructuring through which LNV, or




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one of its proxies, will be able to purchase White Eagle’s valuable portfolio for well below what

it is worth.

        44.    First, as discussed above, through the Second Amended Loan Agreement, LNV

successfully obtained a significant change to the waterfall for distribution of proceeds from the

policies pledged as collateral under the White Eagle Facility. White Eagle is only entitled to

receive proceeds under the waterfall (after all fees and expenses are paid) if the LTV ratio is 65%

or less, and if its indirect parent, Emergent, maintains the requisite Cash Coverage Ratio. Because

LNV determines the value of the policies – the “Lender Valuation” that is the numerator in the

calculation of LTV – LNV has significant discretion in determining the LTV, and therefore in

determining whether White Eagle (and, indirectly, Emergent) will receive any of the cash

generated by White Eagle’s policies.

        45.    Although White Eagle values its own portfolio on a quarterly basis, and hires an

independent expert, Lewis & Ellis Inc. (“Lewis & Ellis”), to independently review its portfolio

valuation on an annual basis, LNV has engaged a separate company, Dominion Due Diligence

Group (“D3G”), to value the portfolio at White Eagle’s expense. LNV unreasonably requires

White Eagle to use only D3G’s valuations to calculate its payment obligations under the waterfall.

(Ex. A § 5.5.) D3G routinely values policies well below the value calculated by the company or

Lewis & Ellis, but unreasonably refuses to provide any meaningful visibility into its methodology.

        46.    D3G’s valuations are plainly unreasonable, in breach of the Loan Agreement, and

LNV has abused its discretion under the Lender Valuation provision to artificially inflate the LTV

above 65% to prevent White Eagle from receiving distributions under the waterfall, thereby

denying White Eagle much needed cash flow over the past 21 months. Indeed, in the nearly two

years since the Second Amended Loan Agreement was executed, White Eagle has participated in




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the waterfall just twice, receiving a total of $985,885, compared to over $111 million that has been

paid to LNV.

       47.     Second, LNV has unreasonably excluded matured policies from its calculation of

LTV by removing those policies completely from the list of policies used in their Lender

Valuation, while at the same time refusing to include the value of the expected life benefit amount

as an account receivable. In other words, LNV refuses to give any credit whatsoever for policies

that have matured until White Eagle actually receives the cash from the life insurance carrier. This

artificially reduces the Lender Valuation, increases the LTV, and reduces the amount of cash that

White Eagle is able to draw upon through the payment waterfall under the Loan Agreement.

Although LNV has recognized that the failure of the Second Amended Loan Agreement to account

for matured policies was an “oversight,” and easily fixable without an amendment, they have

refused to take any action to correct the issue, ignoring numerous requests from White Eagle to

rectify what is clearly a typographical error. LNV’s refusal has allowed it to further deprive White

Eagle (and, indirectly, Emergent) of much needed cash flows.

       48.     Third, LNV has also depressed the amount of funds available to White Eagle by

imposing usurious fees that are payable quarterly to its affiliates, and which are deducted first

under the waterfall, or are otherwise payable solely by White Eagle out of funds it receives only

after amortization, interest and other charges have been paid. (Ex. A, §§ 5.2, Annex I at I-13.)

Under the Second Amended Loan Agreement, LNV approves the expenses to be funded in each

calendar year in its “sole and absolute discretion.” (Ex. A, Annex I, at I-13.) LNV has abused that

discretion by approving usurious fees and by refusing to consider substituting lower cost providers.

       49.     For example, LNV requires that White Eagle pay the expenses of D3G as backup

servicer and portfolio valuation provider (on top of the expenses of White Eagle’s Servicer, which




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also values the portfolio). D3G charges fees that are three to four times the market rate for such

services.

       50.     White Eagle has no choice but to pay the fees imposed by LNV or be declared in

default under Section 10.1 of the Second Amended Loan Agreement. LNV’s bad faith has

deprived White Eagle of millions of dollars in needed cash flow that would otherwise have flowed

to White Eagle under the waterfall.

       51.     Fourth, LNV has withheld millions of dollars in advances that it owes to White

Eagle. When the Second Amendment increased the White Eagle Facility from $250 million to

$370 million, the additional proceeds were used by White Eagle to purchase additional life

insurance policies from the Red Falcon Trust (“Red Falcon”), a Delaware statutory trust and an

affiliate of White Eagle, which paid off and terminated a separate credit facility. Pursuant to the

Second Amendment, certain non-financed life insurance policies previously held by Red Falcon

were also contributed to White Eagle as collateral.

       52.     In exchange for this additional collateral, as part of the Second Amendment, LNV

advanced an additional $6 million of proceeds to pay transaction closing costs and to pay future

debt services and ongoing maintenance costs of the White Eagle Facility. LNV and White Eagle

expressly agreed that these proceeds would be released to White Eagle (and, ultimately, Emergent)

after Emergent completed a July 2017 recapitalization, pursuant to which Emergent exchanged

much of its existing debt for new debt with longer maturities and, in some cases, lower interest

rates, and obtained equity investments from additional investors (the “Recapitalization”).

However, at the eleventh hour before the closing, LNV restricted those funds and, pursuant to

Section 5.1(c) of the Second Amended Loan Agreement, required that they be deposited in an

Eligible Account for the benefit of the Administrative Agent. LNV allowed White Eagle to use




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only $388.069.36 of the proceeds to pay certain costs and expense incurred in connection with the

transactions contemplated by the Second Amendment. LNV unreasonably required White Eagle

to agree not to withdraw the balance of the $6 million for any purpose other than to pay Debt

Service and Ongoing Maintenance Costs. LNV represented to White Eagle that the restrictions on

the $6 million would last only until Emergent, White Eagle’s indirect parent, completed the

Recapitalization. However, LNV has continued to restrict White Eagle’s access to the balance of

the $6 million in bad faith despite repeated assurances that it would be released, and despite the

fact that Emergent’s Recapitalization closed on July 28, 2017

       53.     Finally, adding insult to injury, LNV has cited the success it has achieved in

strangling White Eagle’s cash flows to justify, retroactively and prospectively, its right to do so.

While White Eagle and Emergent are indisputably solvent – indeed, even utilizing LNV’s

improperly low valuations of White Eagle’s policy portfolio, Emergent’s assets exceed its

liabilities by more than $150 million, and White Eagle’s balance sheet is even further in the black

since it does not include any of the debt at the Emergent level – LNV has invoked a provision in

the Loan Agreement ostensibly permitting it to withhold any and all distributions to White Eagle

if Emergent – which is not even a party to the Loan Agreement – “fails to take steps to improve

its solvency in a manner acceptable to [LNV] (as determined in [its] sole and absolute discretion).”

(Ex. A, Annex I at I-5.)

       54.     Specifically, in early November 2018, LNV’s bankruptcy counsel wrote counsel

for White Eagle and Emergent, stating that “the calculation of the Lender Valuation is irrelevant

for purposes of determining what percentage of collections White Eagle is permitted to retain under

the waterfall,” since “Emergent faces imminent insolvency and does not currently have access to

new equity capital or debt service relief that would relieve such insolvency.” But any “insolvency”




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faced by Emergent is due to LNV’s improper actions, as detailed above, which have strangled

White Eagle’s and, in turn, Emergent’s, access to the significant cash flows generated by White

Eagle’s policy portfolio. As a result of all of these improper manipulations by LNV, few if any

funds generated from maturing policies in White Eagle’s portfolio have flowed to White Eagle.

Instead, the vast majority of funds – 98% – have flowed to LNV to reduce White Eagle’s

outstanding debt. For LNV to rely on the consequences of its own improper conduct to justify

continuing that same conduct is the epitome of bad faith, and that bad faith has caused plaintiffs

significant damages.

       B.      LNV Conspires with Silver Point and GWG
               to Appropriate White Eagle’s Valuable Life Settlement Portfolio

       55.     The culmination of LNV’s improper machinations has been its attempt (now

successful) to force plaintiffs into bankruptcy, while at the same time sending purported third

parties – who in actuality represented LNV and its corporate parent, Beal – to propose purchasing

White Eagle’s portfolio in order to stave off bankruptcy. LNV thus not only improperly put

financial pressure on White Eagle as a result of its bad faith maneuvers under the Second Amended

Loan Agreement, but also wrongly conspired with Silver Point and GWG to appropriate White

Eagle’s valuable portfolio of life settlements for its own benefit.

       56.     First, LNV counsel repeatedly encouraged Emergent to consider filing for

bankruptcy, and stated there was more than one party that might bid on White Eagle’s portfolio.

       57.     Second, Silver Point has made overtures to purchase the policy portfolio from

White Eagle. On March 22, 2018, Silver Point called an Emergent board member to arrange a call

concerning Silver Point’s potential purchase of the White Eagle portfolio. At a meeting on May 8,

2018, Silver Point offered to take on White Eagle’s debt to LNV as part of its potential purchase

of the portfolio, but insisted that the transaction had to close by year end.



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       58.     During and after plaintiffs’ discussions with Silver Point, at least two different

individuals, purportedly acting separately, approached Emergent and suggested they could help

facilitate a deal with Silver Point. On information and belief, both individuals – Edward Siskin

and Steven Stanton – were working with and/or on behalf of not only Silver Point, but LNV and

its corporate parent, Beal.

       59.     Third, plaintiffs were approached by GWG, a competitor to White Eagle and, on

information and belief, a major borrower of Beal. On August 15, 2018 – at the very time White

Eagle and Emergent representatives were meeting with LNV and Beal representatives at Beal’s

offices, purportedly in good faith – GWG announced that Brian Bailey, the lead Beal officer

responsible for negotiating with White Eagle on behalf of LNV, had been named Chief Investment

Officer of GWG. A month later, in September 2018, Bailey offered to buy White Eagle’s portfolio,

purportedly on behalf of GWG, and advised White Eagle that LNV was eager to sever its

relationship with White Eagle and Emergent. Meanwhile, Steve Stanton – who previously

purported to offer to help plaintiffs make a deal with Silver Point – in mid-October 2018 began to

work on GWG’s behalf in its negotiations with plaintiffs. Nevertheless, in November 2018,

Stanton indicated he was still in communication with Silver Point, and privy to Silver Point’s

negotiation strategy.

       60.     White Eagle has subsequently learned that LNV, through its parent, Beal, was

behind all of the offers White Eagle had received from both Silver Point and GWG. In other

words, LNV was attempting to use its improper leverage under the Loan Agreement to strangle

White Eagle’s cash and pressure plaintiffs into filing for bankruptcy and selling the valuable life

insurance portfolio to Silver Point or GWG, who were in fact acting on LNV’s behalf.




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       61.     Defendants’ recent reaction to a change in the actuarial tables of the industry’s key

actuarial firms further evidences their collusion. In October and November 2018, those firms –

AVS and ITM TwentyFirst – announced that they would be releasing updated maturity tables.

Those tables have a significant effect on the life expectancies of the insureds under the life policies

in White Eagle’s portfolio – but the precise effect will depend on the exact nature of the firms’

update, which is as yet unknown. Nevertheless, within days of each other, LNV, Silver Point and

GWG all communicated to plaintiffs that they believed that the change in actuarial tables

negatively impacted the value of plaintiffs’ portfolio and, in GWG’s and Silver Point’s case,

negatively impacted the consideration that they would be offering plaintiffs to purchase that

portfolio. Notably, this information was provided by the same individual – Steve Stanton – for

both GWG and Silver Point. On information and belief, all three defendants communicated with

each other, and acted in concert, in connection with their reaction to the actuarial firms’

announcements, as well as with their approach to plaintiffs regarding the same.

       62.     At no time did Silver Point or GWG ever disclose to plaintiffs that they were acting

as LNV’s proxies.

VII.   EMERGENT AND WHITE EAGLE HAVE BEEN AND CONTINUE TO BE
       DAMAGED BY DEFENDANTS’ CONSPIRACY

       63.     Defendants’ conspiracy has greatly damaged plaintiffs. Through their improper

actions, they have deprived White Eagle and Emergent of millions of dollars in cash flow. By

strangling plaintiffs’ access to the proceeds of their own assets, defendants have forced plaintiffs

into bankruptcy (or the precipice thereof), endangering the future of the companies, their

businesses and their employees. Among other things, defendants’ actions have endangered White

Eagle’s ability to pay the premiums on the life insurance policies in its portfolio. Failure to pay

the premium on a policy will, obviously, lead to its cancellation. In other words, defendants are



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endangering White Eagle’s ability to maintain its most valuable asset. Meanwhile, Emergent’s

sole source of revenue is the cash generated by White Eagle’s policies. By cutting off that cash,

defendants have affected Emergent’s ability to pay its debt, and have thereby threatened

Emergent’s ability to continue as a going concern.

        64.     Plaintiffs therefore have commenced this action to remedy the significant damages

caused by defendants’ improper conduct.

                                        First Cause of Action
                                        (Breach of Contract)
                                         (As Against LNV)

        65.     Plaintiffs incorporate Paragraphs 1 through 64 as if fully set forth herein.

        66.     The Loan Agreement is a valid and binding agreement between White Eagle and

LNV, to which White Eagle is a party and Emergent is an intended third-party beneficiary.

        67.     Plaintiffs have performed and are ready, willing, and able to continue to perform

their obligations under the Loan Agreement.

        68.     Pursuant to the Loan Agreement, LNV was required to use its “reasonable

discretion” in determining the value of White Eagle’s life insurance policies in connection with

the calculation of the Lender Valuation and the LTV, and to use its “reasonable judgment” in

making changes to the methodology used to value the policies.

        69.     LNV failed to use its “reasonable discretion” or its “reasonable judgment” in

valuing White Eagle’s life insurance policies. Instead, LNV consistently, intentionally, improperly

and unreasonably undervalued White Eagle’s policies, in order to deflate the Lender Valuation,

inflate the LTV, and reduce (and in many cases eliminate) the cash flows available to plaintiffs

under the Loan Agreement’s priority of payments waterfall.

        70.     LNV’s conduct, as described above, is outrageous, intentional, malicious, willful,

and in blatant or reckless disregard of plaintiffs’ rights.


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       71.     As a result of LNV’s bad faith and predatory conduct, plaintiffs have been damaged

in an amount to be determined at trial, including the amount of distributions that should have and

would have been made to White Eagle and Emergent but for LNV’s unreasonable and bad faith

conduct, as well as punitive and exemplary damages, interest, costs and attorneys’ fees.

       72.     Further, plaintiffs are entitled to an order requiring LNV to specifically perform its

obligations under the Loan Agreement, including to calculate the Lender Valuations and LTV

reasonably and in good faith, and distribute the proceeds of White Eagle’s portfolio in accordance

with the waterfall set forth in the Loan Agreement.

                                   Second Cause of Action
              (Breach of the Implied Covenant of Good Faith and Fair Dealing)
                               (As Against LNV Corporation)

       73.     Plaintiffs incorporate Paragraphs 1 through 64 as if fully set forth herein.

       74.     The Loan Agreement is a contract, to which White Eagle is a party and of which

Emergent is an intended beneficiary.

       75.     Implicit in every contract, including the Loan Agreement, is an implied covenant

of good faith and fair dealing.

       76.     LNV breached this implied covenant through its conspiratorial, bad faith and

predatory conduct, as described above, in applying an unreasonable and improper valuation to

White Eagle’s portfolio of policies; excluding the value of matured policies from such valuation;

refusing to release to White Eagle and Emergent funds that it promised to release prior to the

execution of the Loan Agreement (a promise that LNV has never denied); imposing usurious fees

on White Eagle; and citing the results of its efforts to strangle Emergent’s cash flow to justify

further strangling that same cash flow, and has thereby deprived plaintiffs of the benefits to which

they are entitled under the Loan Agreement.




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        77.     LNV also breached the implied covenant by abusing the discretion afforded it under

the Loan Agreement, including the “reasonable discretion” with which it may calculate the Lender

Valuation; the “sole discretion” with which it may calculate the LTV; and the “sole and absolute

discretion” with which it may determine whether Emergent has “improve[d] its solvency.”

        78.     LNV’s conduct, as described above, is outrageous, intentional, malicious, willful,

and in blatant or reckless disregard of plaintiffs’ rights.

        79.     As a result of LNV’s bad faith and predatory conduct, plaintiffs have been damaged

in an amount to be determined at trial, including the amount of distributions that should have and

would have been made to White Eagle and Emergent but for LNV’s unreasonable and bad faith

conduct, as well as punitive and exemplary damages, interest, costs and attorneys’ fees.

        80.     Further, plaintiffs are entitled to an order requiring LNV to specifically perform its

obligations under the Loan Agreement, including to calculate the Lender Valuations and LTV

reasonably and in good faith, and distribute the proceeds of White Eagle’s portfolio in accordance

with the waterfall set forth in the Loan Agreement.

                                      Third Cause of Action
                                    (Breach of Fiduciary Duty)
                                  (As Against LNV Corporation)

        81.     Plaintiffs incorporate Paragraphs 1 through 64 as if fully set forth herein.

        82.     As discussed above, LNV, White Eagle and Emergent intended to and did create a

joint venture by virtue of the Loan Agreement. LNV and Emergent mutually contributed property,

financial resources and effort into White Eagle as a joint undertaking, in which they intended to

be associated as joint venturers to create an enterprise for profit. Further, LNV maintained

significant control over White Eagle through the onerous terms in the Loan Agreement. Finally,

LNV shares in White Eagle’s profits and losses through the LNV 45% Equity Position, and




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through LNV’s sole recourse to the assets of White Eagle, which consist solely of the policy

portfolio.

          83.   As a joint venturer, LNV owed the joint venture, White Eagle, and its joint venture

partner, Emergent, fiduciary duties. Such fiduciary duties include (among others) the duties of

care, good faith, loyalty and candor.

          84.   LNV breached its fiduciary duties to plaintiffs by (i) using its position to favor itself

at the expense of plaintiffs, including (among other things) through its unreasonable and bad faith

valuations of White Eagle’s loan portfolio, which enabled LNV to siphon cash from the joint

venture for its own benefit and to the detriment of White Eagle and Emergent; and (ii) using its

position in an attempt to force plaintiffs into a distressed sale of their life settlements portfolio.

          85.   Defendants’ conduct, as described above, was outrageous, intentional, malicious,

willful, and in blatant or reckless disregard of plaintiffs’ rights.

          86.   Plaintiffs are entitled to damages in an amount to be proven at trial, as well as

punitive and exemplary damages, interest, costs and attorneys’ fees.

                                    Fourth Cause of Action
                        (Aiding and Abetting Breach of Fiduciary Duty)
                              (As Against Silver Point and GWG)

          87.   Plaintiffs incorporate Paragraphs 1 through 64 and 81 through 86 as if fully set forth

herein.

          88.   As discussed above, LNV, White Eagle and Emergent intended to and did create a

joint venture by virtue of the Loan Agreement.

          89.   By virtue of their relationship with and diligence of LNV and the Loan Agreement,

and in particular the fact that GWG’s actions were led by a former executive of LNV, Silver Point

and GWG were aware of the joint venture, and therefore aware of the fiduciary duties created

thereby.


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         90.    Silver Point and GWG knowingly, intentionally and substantially assisted in,

participated in, and induced LNV’s breach of its fiduciary duties to plaintiffs, by intentionally

participating in a scheme to use improper pressure and coercion to purchase plaintiffs’ most

valuable asset, i.e., their valuable portfolio of life insurance policies, at well below that asset’s true

value.

         91.    Defendants’ conduct, as described above, was outrageous, intentional, malicious,

willful, and in blatant or reckless disregard of plaintiffs’ rights.

         92.    Plaintiffs are entitled to damages in an amount to be proven at trial, as well as

punitive and exemplary damages, interest, costs and attorneys’ fees.

                                       Fifth Cause of Action
                                        (Civil Conspiracy)
                                    (As Against All Defendants)

         93.    Plaintiffs incorporate Paragraphs 1 through 92 as if fully set forth herein.

         94.    Defendants conspired with one another to attempt to force plaintiffs into bankruptcy

or an out-of-court restructuring, by, among other things, (i) failing to disclose to plaintiffs during

negotiations that they were conspiring and colluding with each other, and not acting independently,

in making offers to purchase White Eagle’s policy portfolio; and (ii) attempting to purchase White

Eagle’s portfolio at below the portfolio’s fair value.

         95.    Defendants undertook their wrongful, intentional and unjustifiable acts in

furtherance of their ongoing conspiracy through, among other things, breach of fiduciary duty;

aiding and abetting breach of fiduciary duty; and tortious interference with contract.

         96.    Defendants’ conduct, as described above, was outrageous, intentional, malicious,

willful, and in blatant or reckless disregard of plaintiffs’ rights.

         97.    Plaintiffs are entitled to damages in an amount to be proven at trial, as well as

punitive and exemplary damages, interest, costs and attorneys’ fees.


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                                   Sixth Cause of Action
                (Declaratory Judgment for Recharacterization of Debt as Equity)
                                     (As Against LNV)

       98.      Debtor-plaintiff White Eagle incorporates Paragraphs 1 through 64 as if fully set

forth herein.

       99.      Pursuant to the equitable powers granted to the Court by 11 U.S.C. § 105(a) and

principles of recharacterization, the Court may look beyond the form of a transaction and consider

the substance of the transaction to determine whether it should be recharacterized from debt to

equity, when the parties to the transaction in question intended an interest that is denominated as

a “debt” to be an equity interest or where it appears from the nature of the transaction that a

purported debt is in fact an equity interest.

       100.     Although LNV purports to be solely a lender to White Eagle, a significant portion

of any claim it asserts against White Eagle in fact constitutes equity. Specifically, the LNV 45%

Equity Position is based on a transaction that was in actuality equity. Among other features, the

value and amounts paid or payable in respect of the LNV 45% Equity Position are dependent on

the success of the Debtors’ business.

       101.     Indeed, LNV expressly has taken the position that the LNV 45% Equity Position

“survives the repayment of the other Obligations …, and the termination of the Lender's

commitments, under the White Eagle Credit Agreement.” In other words, under LNV’s theory,

the continuation of the LNV 45% Equity Position is not anchored or connected in any way to the

existence of any outstanding obligations on account of the loans extended by LNV under the Loan

Agreement. As such, the LNV 45% Equity Position constitutes an equity position in White Eagle.

Like stock or warrants given to a lender as part of the consideration for a loan, according to LNV,

the LNV 45% Equity Position is a vested interest in profits or cash flow that survives the payment

of all amounts borrowed.


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        102.    To characterize the LNV 45% Equity Position as debt would disregard the

substance of the interest in White Eagle that the LNV 45% Equity Position represents and result

in injury to White Eagle, its creditors and its other stakeholders, including Emergent, and would

confer an unfair advantage on LNV by allowing LNV to reap the fruits of the misconduct in which

it engaged.

        103.    The recharacterization of the LNV 45% Equity Position from debt to an equity

interest is consistent with the substance of the transaction and the policies of the Bankruptcy Code.

        104.    The LNV 45% Equity Position should be treated in its entirely as an equity interest

that ranks below the claims of White Eagle’s creditors, subject to equitable subordination as

described below.

                                 Seventh Cause of Action
          (Declaratory Judgment for Disallowance of Portion of LNV Claim Against
               White Eagle Representing Unmatured Original Issue Discount)
                                    (As Against LNV)

        105.    Debtor-plaintiff White Eagle incorporates Paragraphs 1 through 64 and 98 through

104 as if fully set forth herein.

        106.    Pursuant to the Loan Agreement, as of the Second Amended Loan Agreement,

LNV received a promissory note issued by White Eagle, in the face amount of any advances made

by LNV on its Loan, up to $370 million.

        107.    Pursuant to the Loan Agreement, LNV also received the 45% Equity Position, as

described above.

        108.    White Eagle provided the 45% Equity Position to LNV as partial consideration for

LNV’s advances on its Loan. While LNV advanced money under the Loan Agreement in

exchange for the note provided by White Eagle, some portion of LNV’s advances were

consideration for the 45% Equity Position, not the note; the amount advanced by LNV was less



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than the sum of the face amount of the note and the value of the 45% Equity Position. That

difference or shortfall – equivalent to the value of the 45% Equity Position when received by LNV

– constitutes Original Issue Discount, or OID.

       109.     Under the Bankruptcy Code, the allowed claim of a creditor, whether secured or

unsecured, whose claim includes OID, does not include OID that was unamortized or unmatured

as of the effective date of the debtor’s plan of reorganization. Any claim for such unamortized

OID that is attributable to the period between the effective date of the plan and the stated maturity

(without acceleration) of the debt to LNV is disallowed. Consequently, the claim of LNV based

on its advances (i.e., the face amount purportedly owed on the note for advances) must be reduced

by the amount of such unamortized OID, and only the balance allowed. Even if a secured creditor

is oversecured and entitled to post-petition interest under section 506 of the Bankruptcy Code, its

allowed secured claim will only include OID that has accreted during the pendency of the case

between the filing of the bankruptcy petition and the effective date of the plan, and not OID which

is unamortized as of the effective date and would accrete thereafter.

       110.     Accordingly, the Court should declare that, pursuant to sections 502(b)(2) and 506

of the Bankruptcy Code, (i) LNV is not entitled to an allowed claim against White Eagle to the

extent of any unamortized OID as of the effective date of any plan of reorganization of White

Eagle (the “Effective Date”); and (ii) the amount of such unamortized OID must be deducted from

the face amount of LNV’s note in determining the allowed amount of its claim.

                                 Eighth Cause of Action
         (Declaratory Judgment for Disallowance of Portion of LNV Claim Against
                  White Eagle Representing Post-Effective Date Interest)
                                   (As Against LNV)

       111.     Debtor-plaintiff White Eagle incorporates Paragraphs 1 through 64 as if fully set

forth herein.



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        112.    In the alternative to Causes of Action Sixth and Seventh, to the extent the Court

finds that the LNV 45% Equity Position does not constitute an equity interest in White Eagle, and

that the value of the 45% Equity Position does not constitute OID (the unamortized portion of

which should be deducted in allowing LNV’s claim), then the 45% Equity Position necessarily

constitutes additional interest on LNV’s loan, which matures only as amounts become due and

owing with respect to the 45% Equity Position.

        113.    Under the Bankruptcy Code, the allowed claim of a creditor, even if secured or

oversecured, does not include, and such creditor is not entitled to recover, any interest that has not

yet matured at the time of the effective date of the debtor’s plan of reorganization. Any claim for

such post-effective date interest is disallowed. Instead, even the oversecured creditor is entitled to

post-plan effective date interest on its allowed secured claim only as provided under a confirmed

plan of reorganization.

        114.    Accordingly, should the Court find that the 45% Equity Position does not constitute

an equity interest in White Eagle or OID (the unamortized portion of which should be deducted in

allowing LNV’s claim), the Court should declare that, pursuant to section 506(b) of the Bankruptcy

Code, LNV is not entitled to an allowed claim against White Eagle to the extent of any portion of

the LNV 45% Equity Position that has not yet accrued or matured as of (or after) the Effective

Date.

                                      Ninth Cause of Action
                                    (Equitable Subordination)
                                        (As Against LNV)

        115.    Debtor-plaintiff White Eagle incorporates Paragraphs 1 through 114 as if fully set

forth herein.

        116.    Section 510(c) of the Bankruptcy Code authorizes the Court to subordinate claims

under principles of equitable subordination.


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        117.    Due to its control over White Eagle and its operations, LNV is an “insider” under

Section 101 of the Bankruptcy Code.

        118.    LNV engaged in inequitable, unconscionable, and/or unfair conduct.

        119.    Among other things, LNV’s bad faith, abuse of its control over White Eagle, and

other misconduct so deprived White Eagle of cash that it was forced to file this bankruptcy case.

At all times, this outcome was LNV’s primary objective, as LNV believed it could utilize this

bankruptcy proceeding to expropriate White Eagle’s assets for itself at below-market prices, to the

detriment of White Eagle and its other stakeholders.

        120.    This inequitable, unconscionable, and/or unfair conduct of LNV resulted in harm

to White Eagle, its creditors and its other stakeholders, and/or gave LNV an unfair advantage over

White Eagle’s other creditors.

        121.    LNV’s inequitable conduct was directed against White Eagle and its other

stakeholders. Subordination of LNV’s claims and equity interests is necessary to offset the harm

which White Eagle and its creditors suffered on account of LNV’s inequitable conduct, which led

directly to the debtors’ bankruptcy filing in the first place.

        122.    All or portions of LNV’s claims should be equitably subordinated. Specifically,

the LNV 45% Equity Position should be subordinated to all other equity interests in White Eagle;

the remainder of LNV’s claims should be subordinated to all other claims against White Eagle;

and, pursuant to Section 510(c)(2) of the Bankruptcy Code, any and all liens securing LNV’s

equitably subordinated claims should be transferred to the White Eagle estate.




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                                   PRAYER FOR RELIEF

       WHEREFORE, White Eagle respectfully requests that this Court enter judgment against

Defendants, and provide the following relief:

              (a)     Actual, indirect, economic, consequential and compensatory damages in

                      an amount to be determined at trial;

              (b)     An order requiring LNV to perform its obligations under the Loan

                      Agreement by calculating the Lender Valuation and the LTV reasonably

                      and in good faith;

              (c)     A judgment declaring that the LNV 45% Equity Position constitutes an

                      equity interest in White Eagle that ranks below the claims of White

                      Eagle’s creditors;

              (d)     A judgment declaring that the LNV 45% Equity Position constituted

                      original issue discount (OID), and that any portion of such OID that is

                      unamortized or unmatured as of the effective date of a plan for White

                      Eagle must be deducted from the face amount of the note to LNV, and

                      disallowed, in determining the allowed amount of LNV’s claim;

              (e)     In the alternative to “(c)” and “(d)”, a judgment declaring that the LNV

                      45% Equity Interest constitutes interest on LNV’s Loan, and that any

                      portion of the LNV 45% Equity Position that is accrued or payable after

                      White Eagle’s Effective Date must be disallowed;

              (f)     A judgment (x) subordinating all of LNV’s claims against White Eagle

                      except the LNV 45% Equity Interest to all other claims against White

                      Eagle; (y) subordinating the LNV 45% Equity Interest to all claims against

                      and interests in White Eagle, including the interests of White Eagle’s other


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      equityholders; and (z) transferring to the White Eagle estate any and all

      liens securing LNV’s equitably subordinated claims;

(g)   Punitive and/or exemplary damages;

(h)   All costs of suit, including reasonable and necessary attorney’s fees;

(i)   Pre- and post-judgment interest at the maximum rate allowed by law; and

(j)   All such further relief, both general and special, at law or in equity, to

      which plaintiffs may show themselves justly to be entitled or as this Court

      may deem appropriate.




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Dated: January 25, 2019
       Wilmington, Delaware
                                    KASOWITZ BENSON TORRES LLP
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